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   Vaccines for Your Children

 Who Sets the Immunization Schedule?




and pictures about the journey of your child’s vaccine, including how a vaccine is added to the US recommended schedule.


 As part of its mission to promote health and prevent disease, CDC publishes written recommendations for vaccinating US
 children and adults. These recommendations are set to protect infants, children, adolescents, and adults against vaccine-
 preventable diseases.

 Medical and public health experts review available data on newly licensed and existing vaccines. These experts, who
 include vaccine experts, scientists, doctors, and public health professionals, form the Advisory Committee on
 Immunization Practices (ACIP).

 ACIP meets 3 times each year to discuss vaccine recommendations. They consider


     • How safe and effective the vaccine is when given at a specific age
     • The severity of the disease the vaccine prevents
     • How many people get the disease if there is no vaccine
     • How well the vaccine helps the body produce immunity to the disease


 The final vaccine recommendations include the

     • Number of doses of each vaccine,
     • Timing between each dose,
     • Age when infants and children should receive the vaccine, and
     • Precautions and contraindications (who should not receive the vaccine).




https://www.cdc.gov/vaccines/parents/schedules/sets-schedule.html                                                  9/1/2020
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 CDC sets the immunization schedules based on ACIP’s recommendations. The childhood and adolescent schedules are
 also approved by the American Academy of Pediatrics (AAP), the American Academy of Family Physicians (AAFP), and the
 American College of Obstetricians and Gynecologists. The adult schedule is also approved by the American Academy of
 Family Physicians, the American College of Obstetricians and Gynecologists, the American College of Physicians, and the
 American College of Nurse-Midwives.




   Related Pages

   The Advisory Committee on Immunization Practices (ACIP) č [2 pages]


   Childhood Immunization Schedule č [2 pages]


   Recommended Immunizations for Children from Birth through 6 Years Old č [2 pages]


   Recommended Immunizations for Children from 7 through 18 Years Old č [2 pages]



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